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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:17-cv-02097 (Lead Case)

REALTIME ADAPTIVE STREAMING, LLC

       Plaintiff,
v.

SLING TV, L.L.C.,
SLING MEDIA, INC.,
SLING MEDIA, L.L.C.,
ECHOSTAR TECHNOLOGIES L.L.C.,
DISH NETWORK, L.L.C., and
ARRIS SOLUTIONS, INC.,

               Defendants.

Civil Action No.: 1:17-cv-02692-RBJ (Consolidated Case)

REALTIME ADAPTIVE STREAMING LLC,

               Plaintiff,

v.

POLYCOM INC.

               Defendant.

Civil Action No.: 1:17-cv-02869-RBJ (Consolidated Case)

REALTIME ADAPTIVE STREAMING LLC,

               Plaintiff,

v.

APPLE INC.

               Defendant.


                    JOINT MOTION TO MODIFY SCHEDULING ORDER


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       Pursuant to Federal Rule of Civil Procedure 16(b)(4), Plaintiff Realtime Adaptive

Streaming L.L.C. (“Realtime”) and Defendants Polycom Inc., Apple Inc, Sling TV L.L.C., Sling

Media, L.L.C., DISH Network L.L.C., DISH Technologies L.L.C. and ARRIS Solutions, Inc.

(collectively, the “Parties”), jointly and through their undersigned counsel, hereby move this

Court to modify the Scheduling Order (Doc. 75) as set forth below.

       As good cause for this motion, the Parties state as follows:

       1.      On March 7, 2018, the Court consolidated the above captioned cases for

scheduling purposes and issued its Scheduling Order for the consolidated cases, providing for

various deadlines.

       2.      On June 18, 2018 the Parties agreed to exchange proposed constructions on

August 10, 2018.

       3.      The Parties respectfully request that the Court modify the following deadlines in

the Scheduling Order:

               Event                       Current Deadline           Extended To
 Exchange Terms for Construction    July 25, 2018                  August 10, 2018
 Exchange of Proposed Constructions August 10, 2018 (by agreement) August 31, 2018
 Joint Claim Construction Statement August 22, 2018                September 14, 2018


       4.      On April 10, 2018, Plaintiff Realtime filed a Motion for Transfer of Actions

pursuant to 28 U.S.C. § 1407 for consolidated pretrial proceedings. A hearing before the Judicial

Panel on Multidistrict Litigation is scheduled to take place on July 26, 2018. Modification of the

deadlines will allow the Parties to adequately prepare for the upcoming hearing and also allow

for the resolution of uncertainty surrounding the future of the cases.




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       5.      None of the Parties has sought an modification of these deadlines previously and

the modifications will not prejudice any of the Parties.

       6.      Pursuant to D.C.COLO.L.Civ.R. 7.1, the Parties have conferred in good faith and

agree that the Scheduling Order should be modified as provided herein and join in this motion.

       7.      Pursuant to D.C.COLO.L.Civ.R. 6.1, the undersigned counsel certify that they

will serve this Motion on their respective clients, pursuant to D.C.COLO.L.Civ.R. 6.1.

       WHEREFORE, the Parties respectfully request that the Court modify the Scheduling

Order as requested herein.




Dated: July 24, 2018

                                                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2018, I electronically filed a true and correct copy of the

foregoing with the Clerk of Court using the Court’s CM/ECF System, which will send electronic

notification of such filing to counsel of record.


                                                             /s/Abran J. Kean
                                                             Abran J. Kean

                                                             Counsel for Defendant Polycom, Inc.




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